     Case 2:10-cr-00026-JMS-CMM                           Document 1000                Filed 06/29/16         Page 1 of 1 PageID #:
                                                                 4064
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)      Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                          )
                         Robbie L. Burris                                  )
                                                                           )    Case No: 2:10CR00026-009
                       a/k/a "Country Guy"
                                                                           )    USM No: 09854-028
Date of Original Judgment:                            04/30/2012           )
Date of Previous Amended Judgment:                                         )    Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           u
the last judgment issued) of                   months is reduced to                                      .
                                             (Complete Parts I and II of Page 2 when motion is granted)



    Mr. Burris's sentence was imposed pursuant to an 11(c)(1)(C) plea agreement that was not expressly based on
    the Court's guideline calculation therefore, he is not eligible for a sentence reduction under Amendment 782.
    Freeman v. United States, 131 S. Ct. 2685 (2011). In addition, Mr. Burris waived any right to challenge his
    sentence under the terms of the plea agreement.




                                                                                                                       A CERTIFIED TRUE COPY
                                                                                                                       Laura A. Briggs, Clerk
                                                                                                                       U.S. District Court
                                                                                                                       Southern District of Indiana

                                                                                                                       By
                                                                                                                                             Deputy Clerk




Except as otherwise provided, all provisions of the judgment dated                       May 4, 2012          shall remain in effect.
IT IS SO ORDERED.

Order Date:          June 29, 2016                                                       _______________________________

                                                                                              Hon. Jane Magnus-Stinson, Judge
Effective Date:
                     (if different from order date)                                           United States District Court
                                                                                              Southern District of Indiana
